                 SIXTH DISTRICT COURT OF APPEAL
                        STATE OF FLORIDA
                      _____________________________

                           Case No. 6D2023-0200
                     Lower Tribunal No. CF16-006991-XX
                      _____________________________

                                ANDRE WARNER,

                                   Appellant,
                                       v.

                               STATE OF FLORIDA,

                                   Appellee.
                      _____________________________

                 Appeal from the Circuit Court for Polk County.
                             Jalal A. Harb, Judge.

                                August 27, 2024

PER CURIAM.

      AFFIRMED.

STARGEL, NARDELLA and WOZNIAK, JJ., concur.


Shiobhan Olivero, of Olivero Law, P.A., Brandon, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Helene S. Parnes, Senior
Assistant Attorney General, Tampa, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
